       Case 2:20-cv-01143-DLR Document 35 Filed 06/23/20 Page 1 of 14



 1   Thomas R. McCarthy (pro hac application pending)
     tom@consovoymccarthy.com
 2
     Cameron T. Norris (pro hac application pending)
 3   cam@consovoymccarthy.com
     CONSOVOY MCCARTHY PLLC
 4   1600 Wilson Blvd., Ste. 700
 5   Arlington, Virginia 22209

 6   Patrick Strawbridge (pro hac application pending)
     patrick@consovoymccarthy.com
 7
     CONSOVOY MCCARTHY PLLC
 8   Ten Post Office Square
     8th Floor South PMB #706
 9   Boston, Massachusetts 02109
10   Tel: (703) 243-9423

11   Kory Langhofer (Ariz. Bar No. 024722)
     kory@statecraftlaw.com
12
     Thomas Basile (Ariz. Bar No. 031150)
13   tom@statecraftlaw.com
     STATECRAFT PLLC
14   649 North Fourth Avenue, Suite B
15   Phoenix, Arizona 85003
     Tel: (602) 382-4078
16   Counsel for Proposed Intervenors
17
                        IN THE UNITED STATES DISTRICT COURT
18
                               FOR THE DISTRICT OF ARIZONA
19
     The Arizona Democratic Party, et al.,                  No. 2:20-cv-01143-DLR
20
                            Plaintiffs,
21
     v.                                                  MOTION TO INTERVENE BY
22                                                        REPUBLICAN NATIONAL
     Katie Hobbs, et al.,                                 COMMITTEE; ARIZONA
23                                                       REPUBLICAN PARTY; AND
                            Defendants,                   DONALD J. TRUMP FOR
24                                                           PRESIDENT, INC.
25   and                                                   (Oral Argument Requested)
26   Republican National Committee; Arizona
27   Republican Party; and Donald J. Trump for
     President, Inc.,
28
                                                 1
       Case 2:20-cv-01143-DLR Document 35 Filed 06/23/20 Page 2 of 14



 1                         Proposed Intervenor-
                           Defendants.
 2

 3
            The Republican National Committee, the Arizona Republican Party, and Donald J.
 4
     Trump for President, Inc. (collectively, the “Movants”) respectfully move to intervene in
 5
     this action pursuant to Federal Rule of Civil Procedure 24.
 6
                      MEMORANDUM OF POINTS AND AUTHORITIES
 7
            This Court should allow Movants—the Republican National Committee, the Arizona
 8
     Republican Party, and Donald J. Trump for President, Inc.—to intervene as defendants in
 9
     this case. As the Democratic Party recently put it, “‘political parties usually have good cause
10
     to intervene in disputes over election rules,’” and “courts regularly permit the intervention
11
     of political parties … in cases involving elections.” Issa v. Newsom, Doc. 23 at 2 & n.1, No.
12
     2:20-cv-01044-MCE-CKD (E.D. Cal. June 8, 2020). That is why, in the many pending cases
13
     involving the 2020 election, the Democratic and Republican parties have been granted
14
     intervention every time they’ve moved for it. 1 Just last week, this Court permitted the
15
     Attorney General to intervene in this case. Doc. 28 at 3. This Court should apply the same
16
     reasoning—consistent with the other district courts—and grant this motion. Intervention is
17
     appropriate here for two independent reasons.
18
            First, Movants satisfy the criteria for intervention as of right under Rule 24(a)(2).
19
20          1
              See, e.g., Issa v. Newsom, 2020 WL 3074351, at *4 (E.D. Cal. June 10, 2020)
     (granting intervention to the DCCC and the Democratic Party of California); Nielsen v.
21   DeSantis, Doc. 101, No. 4:20-cv-236-RH (N.D. Fla. May 28, 2020) (granting intervention
     to the Republican National Committee, NRCC, and Republican Party of Florida); Priorities
22   USA v. Nessel, 2020 WL 2615504, at *5 (E.D. Mich. May 22, 2020) (granting intervention
     to the RNC and Republican Party of Michigan); Thomas v. Andino, 2020 WL 2306615, at
23   *4 (D.S.C. May 8, 2020) (granting intervention to the South Carolina Republican Party);
     Corona v. Cegavske, Order Granting Mot. to Intervene, No. CV 20-OC-644-1B (Nev. 1st
24   Jud. Dist. Ct. Apr. 30, 2020) (granting intervention to the RNC and Nevada Republican
     Party); League of Women Voters of Va. v. Va. State Bd. of Elections, Doc. 57, No. 6:20-cv-
25   24-NKM (W.D. Va. Apr. 29, 2020) (granting intervention to the Republican Party of
     Virginia); Paher v. Cegavske, 2020 WL 2042365, at *2 (D. Nev. Apr. 28, 2020) (granting
26   intervention to four Democratic Party entities); Democratic Nat’l Comm. v. Bostelmann,
     2020 WL 1505640, at *5 (W.D. Wis. Mar. 28, 2020) (granting intervention to the RNC and
27   Republican Party of Wisconsin); Gear v. Knudson, Doc. 58, No. 3:20-cv-278 (W.D. Wis.
     Mar. 31, 2020) (same); Lewis v. Knudson, Doc. 63, No. 3:20-cv-284 (W.D. Wis. Mar. 31,
28   2020) (same).

                                                   2
          Case 2:20-cv-01143-DLR Document 35 Filed 06/23/20 Page 3 of 14



 1   Their motion is timely. Movants have a clear interest in protecting their candidates, voters,
 2   and resources from upheavals in Arizona election law. And no other party adequately
 3   represents those particular interests.
 4            Second, and alternatively, the Court should grant Movants permissive intervention
 5   under Rule 24(b). Again, this motion is timely. Movants’ defenses share common questions
 6   of law and fact with the existing parties, and intervention will result in no delay or prejudice.
 7   As the mirror-image of the Arizona Democratic Party, Movants are uniquely well-suited to
 8   intervene and raise important perspectives that will otherwise go unrepresented.
 9            Defendants Attorney General and the Santa Cruz, Mohave, Pima, Yavapai, Navajo,
10   Gila, and Pinal recorders do not oppose this motion. The Plaintiffs and the Secretary of State
11   have indicated they do oppose Movants’ intervention, and the remaining Defendants have
12   not responded to a request for their position that Movants sent on the evening of June 22.
13                        INTERESTS OF PROPOSED INTERVENORS
14            Movants are a political campaign and political committees who support Republicans
15   in Arizona. The RNC is a national committee as defined by 52 U.S.C. § 30101. It manages
16   the Republican Party’s business at the national level, supports Republican candidates for
17   public office at all levels, coordinates fundraising and election strategy, and develops and
18   promotes the national Republican platform. The Arizona Republican Party is a recognized
19   political party that works to promote Republican values and to assist Republican candidates
20   in obtaining election to partisan federal, state, and local office. Donald J. Trump for
21   President, Inc., is the principal committee for President Donald J. Trump’s reelection
22   campaign. All three Movants have interests—their own and those of their members—in the
23   rules governing Arizona elections.
24                                            ARGUMENT
25   I.       Movants are entitled to intervene as of right.
26            “Rule 24(a) traditionally receives a liberal construction in favor of applicants seeking
27   intervention.” City of Emeryville v. Robinson, 621 F.3d 1251, 1258 (9th Cir. 2010). Under
28   Rule 24(a)(2), this Court must grant intervention as of right if:

                                                     3
       Case 2:20-cv-01143-DLR Document 35 Filed 06/23/20 Page 4 of 14



 1               1. The motion is timely;
 2               2. Movants have a legally protected interest in this action;
 3               3. This action may impair or impede that interest; and
 4               4. No existing party adequately represents Movants’ interests.
 5   Wilderness Soc. v. U.S. Forest Serv., 630 F.3d 1173, 1177 (9th Cir. 2011) (en banc).
 6   Movants satisfy each of these requirements.
 7          A.       The motion is timely.
 8          Movants filed a “timely” motion to intervene. Fed. R. Civ. P. 24(a)(2). As this Court
 9   acknowledged just last week, “[this] case is in its infancy,” so intervention “will not likely
10   result in significant delay.” Doc. 28 at 2. The complaint was filed only two weeks ago,
11   Defendants still haven’t answered it, and the Court has yet to rule on the preliminary-
12   injunction motion. See, e.g., Idaho Farm Bureau Fed’n v. Babbitt, 58 F.3d 1392, 1397 (9th
13   Cir. 1995) (motion filed four months after the complaint and before any hearings or rulings
14   on substantive matters was timely); Sierra Club v. EPA, 995 F.2d 1478, 1481 (9th Cir. 1993)
15   (holding intervention was clearly timely where it was filed “before the EPA had even filed
16   its answer”); N. Am. Meat Inst. v. Becerra, 420 F. Supp. 3d 1014, 1021 (C.D. Cal. 2019)
17   (motion filed twenty-five days after complaint was timely); California v. Health & Human
18   Servs., 330 F.R.D. 248, 253 (N.D. Cal. 2019) (finding that “a several-week delay in filing
19   [a] motion to intervene has caused no prejudice to any of the other parties and was entirely
20   reasonable”).
21          Movants’ intervention will not prejudice the parties either. Movants are prepared to
22   abide by any schedule this Court may adopt for the filing of pleadings responsive to the
23   Complaint or the Plaintiffs’ Motion for Preliminary and Permanent Injunction (Doc. 2).2
24          2
              Like the Attorney General, see Doc. 16 at 2 n.1, Movants respectfully seek leave
25   from the requirement of Rule 24(c) to attach a responsive pleading. Movants are seeking to
     expedite this filing and the time to respond to the Complaint has not yet run for any
26   Defendant. “Courts … have approved intervention motions without a pleading where the
27   court was otherwise apprised of the grounds for the motion.” Beckman Indus. Inc., v. Int’l
     Ins. Co., 966 F.2d 470, 474 (9th Cir. 1992). And if the Court believes it to be necessary,
28   Movants can tender a responsive pleading as a condition of being permitted to intervene to

                                                    4
       Case 2:20-cv-01143-DLR Document 35 Filed 06/23/20 Page 5 of 14



 1   And although intervention would mean the Plaintiffs may face some additional arguments
 2   against their requested relief, “these arguments do not pertain to prejudice arising from the
 3   timeliness of this motion.” Am. Small Bus. League v. U.S. Dept. of Defense, No. C 18-01979
 4   WHA, 2019 WL 2579200, at *3 (N.D. Cal. June 24, 2019) (granting intervention). Issues
 5   “concerning the nature and duration of the case”—as opposed to the effect of an untimely
 6   intervention—“are precisely the kind of issues that do not constitute prejudice.” Defenders
 7   of Wildlife v. Johanns, No. C 04-4512 PJH, 2005 WL 3260986, at *4 (N.D. Cal. 2005)
 8   (emphasis added). And “[c]oncerns about potentially duplicative briefing can be addressed
 9   in other ways.” Doc. 28 at 2.
10          If Movants are denied intervention, however, their interests will be irreparably
11   harmed. They are the only stakeholders with an interest specific to the election of their
12   candidates, and if they are left out of discovery, future merits briefing, and any discussions
13   over the contours of a permanent injunction that might issue, it would directly impair their
14   ability to protect that interest in the approaching election. Their motion is thus timely.
15          B.      Movants have protected interests in this action.
16          Movants also “have a significant protectable interest in the action.” Citizens for
17   Balanced Use v. Montana Wilderness Ass’n, 647 F.3d 893, 897 (9th Cir. 2011). “To
18   demonstrate a significant protectable interest, [Movant] must establish that the interest is
19   protectable under some law and that there is a relationship between the legally protected
20   interest and the claims at issue,” but “‘[n]o specific legal or equitable interest need be
21   established.’” Id. (alteration in original).
22          Movants’ interests in this action are, at a minimum, equal to Plaintiffs’. Federal
23   courts “routinely” find that political parties have interests supporting intervention in
24   litigation regarding election procedures. Issa, 2020 WL 3074351, at *3. Indeed, given their
25
     resolve any such “purely technical defect,” which should not “result in the disregard of any
26   substantial right.” Westchester Fire Ins. v. Mendez, 585 F.3d 1183, 1188 (9th Cir. 2009)
27   (quotation marks omitted). Indeed, permitting intervention now may help avoid the need
     for duplicative pleadings, as Movants would coordinate their responses with the other
28   Defendants.

                                                    5
       Case 2:20-cv-01143-DLR Document 35 Filed 06/23/20 Page 6 of 14



 1   obvious interest in elections, usually “[n]o one disputes” that a political party “meet[s] the
 2   impaired interest requirement for intervention as of right.” Citizens United v. Gessler, 2014
 3   WL 4549001, *2 (D. Col. Sept. 15, 2014). That is certainly true where, as here, “changes in
 4   voting procedures could affect candidates running as Republicans and voters who [are]
 5   members of the … Republican Party.” Ohio Democratic Party v. Blackwell, 2005 WL
 6   8162665, *2 (S.D. Ohio Aug. 26, 2005); see id. (under such circumstances, “there [was] no
 7   dispute that the Ohio Republican Party had an interest in the subject matter of this case”).
 8   That is why, although Plaintiffs refuse to extend the same courtesy here, the Republican
 9   Party consented to the Democratic Party’s intervention in a case that it filed in California.
10   See Republican Nat’l Comm. v. Newsom, Doc. 22, No. 2:20-cv-1055-MCE-CKD (E.D. Cal.
11   June 5, 2020).
12          C.     This action threatens to impair Movants’ interests.
13          Movants are “so situated that disposing of [this] action may as a practical matter
14   impair or impede [their] ability to protect [their] interest.” Fed. R. Civ. P. 24(a)(2). Movants
15   “do not need to establish that their interests will be impaired,” “only that the disposition of
16   the action ‘may’ impair or impede their ability to protect their interests.” Brumfield v. Dodd,
17   749 F.3d 339, 344 (5th Cir. 2014). This language in Rule 24 is “obviously designed to
18   liberalize the right to intervene in federal actions.” Nuesse v. Camp, 385 F.2d 694, 701 (D.C.
19   Cir. 1967).
20          Here, the risks to Movants’ interests are plain. Any relief awarded to Plaintiffs will
21   change the “structur[e] of th[e] competitive environment” and “fundamentally alter the
22   environment in which [Movants] defend their concrete interests (e.g. their interest in …
23   winning [election or] reelection).” Shays v. Federal Election Comm., 414 F.3d 76, 85-86
24   (D.C. Cir. 2005). These changes also threaten to confuse voters and undermine confidence
25   in the electoral process. See Purcell v. Gonzalez, 549 U.S. 1, 4-5 (2006) (“Court orders
26   affecting elections … can themselves result in voter confusion and consequent incentive to
27   remain away from the polls. As an election draws closer, that risk will increase.”). Movants
28   will be forced to spend substantial resources informing Republican voters of changes in the

                                                    6
       Case 2:20-cv-01143-DLR Document 35 Filed 06/23/20 Page 7 of 14



 1   law, fighting inevitable confusion, and galvanizing participation in the wake of the
 2   “consequent incentive to remain away from the polls.” Id.
 3          Moreover, “as a practical matter,” Fed. R. Civ. P. 24(a)(2), “intervenors have ‘no
 4   alternative forum where they can mount a robust defense,’” of the ballot-signature
 5   requirement. Nooksack Indian Tribe v. Zinke, 321 F.R.D. 377, 381 (W.D. Wash. 2017). This
 6   proceeding might be the only time that Movants can litigate the ballot-signature rules that
 7   will govern the November election, which is only months away. Therefore, “disposition of
 8   [the] suit might, as a practical matter, impair the ability of [Movants] to protect [their]
 9   interest[s].” Sagebrush Rebellion, Inc. v. Watt, 713 F.2d 525, 527 (9th Cir. 1983). In a very
10   real sense, then, this Court’s decision on the preliminary injunction could be the final word
11   on the ballot-signature laws governing the next election.
12          D.     The parties do not adequately represent Movants’ interests.
13          Finally, “the existing parties may not adequately represent [Movant]’s interest.”
14   Citizens for Balanced Use v. Mont. Wilderness Ass’n, 647 F.3d 893, 898 (9th Cir. 2011).
15   Inadequacy is not a demanding showing. “The burden of showing inadequacy of
16   representation is ‘minimal’ and satisfied if the applicant can demonstrate that representation
17   of its interests ‘may be’ inadequate.” Id. While that burden increases “when the government
18   is acting on behalf of a constituency that it represents,” Movants can meet the burden by
19   “mak[ing] a ‘compelling showing’ of inadequacy of representation.” Id.
20          The State Defendants do not adequately represent Movants’ interests. This
21   inadequacy goes beyond the Attorney General’s understandable concern that the Secretary
22   will not fully defend the laws at issue, see Doc. 16 at 4-6,3 because Movants are private
23   political entities with fundamentally different aims than both the Secretary and Attorney
24   General. The State Defendants must balance “a range of interests likely to diverge from
25   those of the intervenors.” Meek v. Metro. Dade Cty., 985 F.2d 1471, 1478 (11th Cir. 1993).
26          3
              In her most recent filing with this Court, the Secretary of State underscored the fact
27   that she “has her own legal positions, priorities, and objectives” distinct from that of the
     AG’s office, Doc. 26 at 3. The same is obviously true with respect to Movants.
28

                                                   7
       Case 2:20-cv-01143-DLR Document 35 Filed 06/23/20 Page 8 of 14



 1   Those interests include “the expense of defending the current [laws] out of [state] coffers,”
 2   Clark v. Putnam Cty., 168 F.3d 458, 461 (11th Cir. 1999), “the social and political
 3   divisiveness of the election issue,” Meek, 985 F.2d at 1478, “their own desires to remain
 4   politically popular and effective,” id., and even the interests of opposing parties, In re Sierra
 5   Club, 945 F.2d 776, 779-80 (4th Cir. 1991).
 6          Neither does the Attorney General Intervenor-Defendant adequately represent
 7   Movants’ interests. The “presumption” that the Attorney General adequately represents
 8   Movants is “rebutted” here because “[Movants’ position] represents more than a mere
 9   difference in litigation strategy … but rather demonstrates the fundamentally differing
10   points of view between [Movants] and the [State] on the litigation as a whole.” Citizens for
11   Balanced Use, 647 F.3d at 899; see Issa, 2020 WL 3074351, at *3 (granting the Democratic
12   Party intervention as of right, even though California was already defending the challenged
13   policy, because “the parties’ interests are neither ‘identical’ nor ‘the same’”). Defendants
14   are elected officials charged with administering the State’s election laws—and doing so
15   neutrally, without favoring Democrats or Republicans. “In carrying out this responsibility,
16   [Intervenor-Defendant] would ‘shirk [his] duty were [he] to advance the narrower interest
17   of a private entity.’” Nat’l Parks Conservation Ass’n v. EPA, 759 F.3d 969, 977 (8th Cir.
18   2014). Although Movants and the Attorney General both seek to defend the laws at issue,
19   “the government’s representation of the public interest may not be ‘identical to the
20   individual parochial interest’ of a particular group just because ‘both entities occupy the
21   same posture in the litigation.’” Citizens for Balanced Use, 647 F.3d at 898.
22          For these reasons, Movants occupy an adversarial position in this case that no
23   existing party serves. Their “intervention [is] vital to the defense of the law[s] at issue” in
24   this case. Miracle v. Hobbs, 333 F.R.D. 151, 155 (D. Ariz. 2019) (citing Horne v. Flores,
25   557 U.S. 433, 433 (2009)). Movants should be granted intervention as of right.
26   II.    Alternatively, Movants are entitled to permissive intervention.
27          Even if Movants were not entitled to intervene as of right under Rule 24(a), this Court
28   should grant them permissive intervention under Rule 24(b). Exercising broad judicial

                                                    8
       Case 2:20-cv-01143-DLR Document 35 Filed 06/23/20 Page 9 of 14



 1   discretion, courts grant permissive intervention when the movant has:
 2          1.     Independent ground for jurisdiction;
 3          2.     Filed a timely motion;
 4          3.     A common question of law and fact to the main action.
 5          Freedom from Religion Found., Inc. v. Geithner, 644 F.3d 836, 844 (9th Cir. 2011).
 6   The Court also must consider “whether the intervention will unduly delay or prejudice the
 7   adjudication of the original parties’ rights.” Fed. R. Civ. P. 24(b)(3). And, “[u]nlike Rule
 8   24(a), subsection (b) ‘does not require a showing of inadequacy of representation.’” Doc.
 9   28, at 2 (quoting Groves v. Ins. Co. of N. Am., 433 F. Supp. 877, 888 (E.D. Pa. 1977)).
10          The requirements of Rule 24(b) are met here. As explained, Movants filed a timely
11   motion. Supra I.A. Movants need not demonstrate independent grounds for jurisdiction. In
12   federal-question cases such as this one, “[t]he jurisdictional requirement, … [applies] only
13   where a proposed intervenor seeks to bring new state-law claims.” Freedom from Religion
14   Found., Inc. v. Geithner, 644 F.3d 836, 844 (9th Cir. 2011). Because this is a federal-
15   question case, Compl. ¶¶ 4-5, and Movants do not seek to introduce any new state-law
16   claims, “the jurisdictional concern drops away.” Geithner, 644 F.3d at 844.
17          Movants will raise defenses that share many common questions with the parties’
18   claims and defenses. Here, Movants seek to enforce existing ballot-signature requirement
19   “and therefore bring no new questions of law,” which indicates a “common question of law
20   and fact.” S. Pac. Co. v. City of Portland, 221 F.R.D. 637, 643 (D. Or. 2004). Indeed, district
21   courts have found this element met merely when “the intervenors’ represent that their
22   defenses are based on the same legal arguments that the state has raised, such that there are
23   questions of law and fact in common between their defense and the main action.” Becerra,
24   420 F. Supp. 3d at 1021. Further, Movant’s arguments are “directly responsive to the claims
25   for injunction asserted by plaintiffs” and therefore “satisf[y] the literal requirements of Rule
26   24(b).” Kootenai Tribe of Idaho v. Veneman, 313 F.3d 1094, 1110 (9th Cir. 2002).
27   Permissive intervention is particularly appropriate where, as here, “[Movants] assert
28   ‘defenses’ of the government [laws] that squarely respond to the challenges made by

                                                    9
      Case 2:20-cv-01143-DLR Document 35 Filed 06/23/20 Page 10 of 14



 1   plaintiffs in the main action.” Id. at 1111. Because Movants’ interests mirror Plaintiffs’,
 2   “[Movants] will contribute to a full development of the issues in the lawsuit.” Friends of
 3   the Wild Swan, Inc. v. U.S. Fish & Wildlife Serv., 896 F. Supp. 1025, 1028 (D. Or. 1995);
 4   see also Builders Ass’n of Greater Chic. v. City of Chicago, 170 F.R.D. 435, 441 (N.D. Ill.
 5   1996) (permissive intervention is appropriate where “applicants’ interest in the litigation is
 6   the mirror-image” of an original party’s interest).
 7          Movants’ intervention will not unduly delay this litigation or prejudice anyone.
 8   Movants swiftly moved to intervene while “[this] case is in its infancy,” Doc. 28 at 2, and
 9   their participation will add no delay beyond the norm for multiparty litigation. After all,
10   Plaintiffs put the constitutionality of the laws at issue and “can hardly be said to be
11   prejudiced by having to prove a lawsuit [they] chose to initiate.” Security Ins. Co. of
12   Hartford v. Schipporeit, Inc., 69 F.3d 1377, 1381 (7th Cir. 1995). Movants commit to
13   submitting all filings in accordance with the briefing schedules this Court imposes, “which
14   is a promise” that undermines claims of undue delay. Emerson Hall Assocs., LP v. Travelers
15   Casualty Ins. Co. of Am., 2016 WL 223794, *2 (W.D. Wis. Jan. 19, 2016).
16          Finally, allowing Movants to intervene will promote consistency and fairness in the
17   law, as well as judicial economy, which “is a relevant consideration in deciding a motion
18   for permissive intervention.” Venegas v. Skaggs, 867 F.2d 527, 531 (9th Cir. 1989), aff’d
19   sub nom. Venegas v. Mitchell, 495 U.S. 82 (1990). Like the Attorney General Intervenor-
20   Defendant, “‘the magnitude of this case is such that both Applicants’ intervention will
21   contribute to the equitable resolution of this case,’” Kootenai Tribe of Idaho, 313 F.3d at
22   1111. “[I]ntervention will promote judicial economy and spare the parties from needing to
23   litigate a similar case in another district.” Health & Human Servs., 330 F.R.D. at 255
24   (holding that permissive intervention for Oregon as the fifteenth plaintiff in the suit would
25   promote judicial economy). Allowing intervention by political parties in a “time-
26   sensitiv[e]” “election-related dispute” also preempts the delay that otherwise results from
27   sorting out Movants’ rights on appeal. See Jacobson v. Detzner, 2018 WL 10509488 (N.D.
28   Fla.) (“[D]enying [Republican Party organizations’] motion [to intervene] opens the door

                                                  10
      Case 2:20-cv-01143-DLR Document 35 Filed 06/23/20 Page 11 of 14



 1   to delaying the adjudication of this case’s merits for months—if not longer”); Stringfellow
 2   v. Concerned Neighbors in Action, 480 U.S. 370, 377 (1987) (“[W]hen an order prevents a
 3   putative intervenor from becoming a party in any respect, the order is subject to immediate
 4   review.”). If this Court has any doubts, “the most prudent and efficient course of action” is
 5   to grant permissive intervention. Lac Courte Oreilles Band of Lake Superior Chippewa
 6   Indians of Wis. v. United States, 2002 WL 32350046, *3 (W.D. Wis. Nov. 20, 2002).
 7                                        CONCLUSION
 8          The Court should grant Movants’ motion and allow them to intervene as defendants.
 9
10   Dated: June 23, 2020

11                                                 STATECRAFT PLLC
12
                                             By:       /s/Thomas Basile
13                                                 Kory Langhofer
                                                   Thomas Basile
14                                                 649 North Fourth Avenue, First Floor
                                                   Phoenix, Arizona 85003
15
16                                                 CONSOVOY MCCARTHY PLLC
17                                                 Thomas R. McCarthy (pro hac pending)
18                                                 Cameron T. Norris (pro hac pending)
                                                   1600 Wilson Blvd., Ste. 700
19                                                 Arlington, Virginia 22209
20
                                                   Patrick Strawbridge (pro hac pending)
21                                                 Ten Post Office Square
                                                   8th Floor South PMB #706
22                                                 Boston, Massachusetts 02109
23                                                 Attorneys for Proposed Intervenors
                                                   Republican National Committee, Arizona
24                                                 Republican Party, and Donald J. Trump for
                                                   President, Inc.
25
26
27
28

                                                   11
      Case 2:20-cv-01143-DLR Document 35 Filed 06/23/20 Page 12 of 14



 1                              CERTIFICATE OF SERVICE
 2
           I hereby certify that on June 23, 2020, I electronically transmitted the attached
 3   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
 4   Notice of Electronic Filing to the following CM/ECF registrants:

 5   Alexis E. Danneman
 6   Joshua L. Boehm
     Perkins Coie LLP
 7   2901 North Central Avenue, Suite 2000
     Phoenix, Arizona 85012-2788
 8
     ADanneman@perkinscoie.com
 9   JBoehm@perkinscoie.com
     Attorneys for the Plaintiffs
10
     Roopali Desai
11   Andy Gaona
     Kristen Yost
12   Coppersmith Brockelman PLC
     2800 North Central Avenue, Suite 1900
13   Phoenix, Arizona 85004
     rdesai@cblawyers.com
14   agaona@cblawyers.com
     kyost@cblawyers.com
15   Attorneys for the Secretary of State
16   Drew Ensign
     Jennifer Wright
17   Robert Makar
     Arizona Attorney General’s Office
18   2005 North Central Avenue
     Phoenix, Arizona 85004
19   Drew.Ensign@azag.gov
     Jennifer.Wright@azag.gov
20   Robert.Makar@azag.gov
     Attorneys for the State of Arizona
21
     Joseph D. Young
22   Apache County Attorney’s Office
     P.O. Box 637
23   Saint Johns, Arizona 85936
     jyoung@apachelaw.net
24   Attorney for the Apache County Recorder
25   Rose Winkeler
     Coconino County Attorney’s Office
26   110 East Cherry Ave.
     Flagstaff, Arizona 86001
27   rwinkeler@coconino.az.gov
     Attorney for the Coconino County Recorder
28

                                                 12
      Case 2:20-cv-01143-DLR Document 35 Filed 06/23/20 Page 13 of 14



 1   Jeff Dalton
     Gila County Attorney’s Office
 2   1400 East Ash Street
     Globe, Arizona 85501
 3   jdalton@gilacountyaz.gov
     Attorney for the Gila County Recorder
 4
     Joseph Branco
 5   Joseph La Rue
     Maricopa County Attorney’s Office
 6   222 North Central Avenue, Suite 1100
 7   Phoenix, Arizona 85004
     brancoj@mcao.maricopa.gov
 8   ca-civilmailbox@mcao.maricopa.gov
     Attorney for the Maricopa County Recorder
 9
     Jeff Haws
10   Mohave County Attorney’s Office
     315 N. 4th St.
11   Kingman, Arizona 86401
     Jeff.Haws@mohavecounty.us
12   Attorney for the Mohave County Recorder

13   Jason Moore
     Navajo County Attorneys Office
14   P.O. Box 668
     Holbrook, AZ 86025
15   jason.moore@navajocountyaz.gov
     Attorney for the Navajo County Recorder
16
     Daniel Jurkowitz
17   Pima County Attorney’s Office
     32 North Stone Avenue, Suite 2100
18   Tucson, Arizona 85701
     Daniel.Jurkowitz@pcao.pima.gov
19   Attorney for the Pima County Recorder

20   Craig Cameron
     Pinal County Attorney’s Office
21   30 N. Florence St.
     Florence, Arizona 85132
22   Craig.Cameron@pinal.gov
     Attorney for the Pinal County Recorder
23
     Kimberly Hunley
24   Santa Cruz County Attorney’s Office
     2150 North Congress Drive, Suite 201
25   Nogales, Arizona 85621
     khunley@santacruzcountyaz.gov
26   Attorney for the Santa Cruz County Recorder

27   Thomas M. Stoxen, Esq.
     Yavapai County Attorney’s Office
28

                                                 13
      Case 2:20-cv-01143-DLR Document 35 Filed 06/23/20 Page 14 of 14



 1   255 E. Gurley Street
     Prescott, Arizona 86301
 2
     thomas.stoxen@yavapai.us
 3   Attorneys for the Yavapai County Recorder
 4   William J. Kerekes
 5   Office of the Yuma County Attorney
     250 West Second Street, Suite G
 6   Yuma, Arizona 85364
     YCAttyCivil@yumacountyaz.gov
 7
     Attorney for the Yuma County Recorder
 8
 9
10                                                    By:    /s/Thomas Basile
                                                            Thomas Basile
11
12
13
14
15
16
17

18
19
20
21
22
23
24
25
26
27
28

                                                 14
